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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

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In re                                                      :       Chapter 11
                                                           :
PARAGON OFFSHORE PLC                                       :       Case No. 16–10386 (CSS)
                                                           :
                                                           :
                  Debtor. 1                                :
                                                           :
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                         NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                             HEARING ON JUNE 3, 2021 AT 2:00 P.M. (ET)

              AS NO MATTERS ARE SCHEDULED TO GO FORWARD,
     THE HEARING HAS BEEN CANCELLED WITH PERMISSION FROM THE COURT

I.       ADJOURNED MATTER:

         1.         Motion of the United States Trustee to Compel Filing of Post-Confirmation
                    Quarterly Reports and Payment of Statutory Fees Pursuant to 28 U.S.C. §
                    1930(a)(6) [D.I. 2231; filed May 12, 2021]

                    Response/Objection Deadline:                May 27, 2021 at 5:00 p.m. (ET); extended to
                                                                June 2, 2021 at 4:00 p.m. (ET) for the
                                                                Debtor

                    Objections/Responses Received:

                    A.       Paragon Litigation Trust’s Response to U.S. Trustee’s Motion to Compel
                             Filing of Post-Confirmation Quarterly Reports and Payment of Statutory
                             Fees Pursuant to 28 U.S.C. § 1930(a)(6) [D.I. 3329; filed May 27, 2021]

                    Related Documents:

                    i.       Order Granting the Paragon Litigation Trust’s Motion for Entry of an
                             Order Approving the Settlement Among the Paragon Litigation Trust, The


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 The Debtor in this case, along with the last four digits of the debtor’s federal tax identification number is Paragon
Offshore plc (in administration) (6017). The Debtor’s mailing address is 3151 Briarpark Drive, Suite 700, Houston,
Texas 77042. Neville Barry Kahn and David Philip Soden, each of Deloitte LLP, are the joint administrators of
Paragon Offshore plc (in administration) (the “Joint Administrators”). The affairs, business and property of
Paragon Offshore plc (in administration) are managed by the Joint Administrators.



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                           Noble Defendants, and the D&O Defendants [D.I. 2227; entered February
                           24, 2021]

                    ii.    Notice of Motion of the United States Trustee to Compel Filing of Post-
                           Confirmation Quarterly Reports and Payment of Statutory Fees Pursuant
                           to 28 U.S.C. § 1930(a)(6) [D.I. 2233; filed May 17, 2021]

                    Status: By agreement of the parties, the hearing on this matter has been adjourned
                            to the hearing scheduled for June 10, 2021 at 11:00 a.m. (ET).


Dated: June 1, 2021
       Wilmington, Delaware
                                                 /s/ Amanda R. Steele
                                                RICHARDS, LAYTON & FINGER, P.A.
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                                                Paul N. Heath (No. 3704)
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                                                -and-

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                                                Attorneys for the Debtor




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